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                                                                                                   2018 Mar-05 PM 03:09
                                                                                                   U.S. DISTRICT COURT
                                                                                                       N.D. OF ALABAMA


                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ALABAMA
                              NORTHEASTERN DISTRICT

AMBERLY FORTENBERRY,                              )
                                                  )
       PLAINTIFF                                  )
                                                  )
vs.                                               )              Civil Action No. 5:17-cv-1608-AKK
                                                  )
GEMSTONE FOODS, LLC and                           )
RCF, LLC,                                         )
                                                  )
       DEFENDANTS                                 )



          GEMSTONE, LLC’S NOTICE OF RESPONSES TO INTERROGATORIES

       Gemstone, LLC, through counsel, gives notice that it has, this date, served its responses to

interrogatories to counsel to the plaintiff. The undersigned will maintain the original of these

responses in accordance with the rules of this Court.

       Dated: March 5, 2018

       Respectfully submitted,

                                                        GEMSTONE, LLC


                                                   by: __s/ Robert E. Sanders       ___________
                                                       Robert E. Sanders, Miss. Bar #6446,
                                                       Pro Hac Vice

Young Wells Williams, P.A.
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                                              and by: __s/ John W. Sheffield      ____________
                                                      John W. Sheffield (asb-7423-d62j)



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                                  CERTIFICATE OF SERVICE

       The undersigned hereby certifies that he has served, via this Court’s electronic filing system,

copies of the foregoing on the following counsel of record herein:


               B. Scott Shipman
               Shipman & Associates, P.C.
               218 West Market Street
               Athens, AL 35611


       SO CERTIFIED, this 5th day of March, 2018.



                                                       _s/ Robert E. Sanders         _____________




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